                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
                                                  )       No. 3:03-MJ-2135
V.                                                )       (SHIRLEY)
                                                  )
                                                  )
                                                  )
ELOY CONTRERAS TREJO                              )

                                ORDER OF DETENTION


              An initial appearance was held in this case on a Criminal Complaint on

December 5, 2005.       Jeff Theodore, Assistant United States Attorney, was present

representing the government, and Gerald Gulley was present representing the defendant.

Interpreter, Elena DeJohn, was present via telephone. Counsel for the defendant stated that

the defendant wished to waive his right to a detention hearing at this time and reserved the

right to ask for a detention hearing in the future, if appropriate. Pursuant to the defendant

signing a Waiver of Detention Hearing, the defendant is to be detained. 18 U.S.C. §

3142(f)(2)(B). The government stated they had no objections. The defendant was present

and stated that he knew he would remain in jail pending trial. For good cause, and by

agreement of the defendant, this detention hearing is waived and the defendant is detained.

              The defendant is aware of his rights to a prompt detention hearing and to

require the government to meet its burden of proving that no conditions of release exist

which will reasonably assure his appearance in court and the safety of the community. The


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defendant knows that if his detention hearing is waived he will remain in custody while it is

continued. The defendant acknowledged in open court that he understands his rights and the

consequences of waiving his detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:

                                       s/C. Clifford Shirley, Jr.
                                   United States Magistrate Judge




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